Case No. 1:20-cv-00742-DDD-KAS Document 222-1 filed 06/25/21 USDC Colorado pg 1
                                    of 4
                                                                   EXHIBIT A




                                                        DATE FILED: June 25, 2018
                                                        CASE NUMBER: 2018CV50
Case No. 1:20-cv-00742-DDD-KAS Document 222-1 filed 06/25/21 USDC Colorado pg 2
                                    of 4
                                                                 EXHIBIT A
Case No. 1:20-cv-00742-DDD-KAS Document 222-1 filed 06/25/21 USDC Colorado pg 3
                                    of 4
                                                                 EXHIBIT A
Case No. 1:20-cv-00742-DDD-KAS Document 222-1 filed 06/25/21 USDC Colorado pg 4
                                    of 4
                                                                 EXHIBIT A
